         Case 8-19-76260-ast        Doc 135       Filed 10/09/19        Entered 10/09/19 20:15:33




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Proposed Counsel to the Debtors
and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

                                                        )      Chapter 11
                                                        )
                                                        )      Case No. 19-76260 (AST)
                                                        )      Case No. 19-76263 (AST)
In re:                                                  )      Case No. 19-76267 (AST)
                                                        )      Case No. 19-76268 (AST)
Absolut Facilities Management, LLC, et al.              )      Case No. 19-76269 (AST)
                                                        )      Case No. 19-76270 (AST)
                          Debtors.1                     )      Case No. 19-76271 (AST)
                                                        )      Case No. 19-76272 (AST)
                                                        )
                                                        )      (Jointly Administered)
                                                        )

                                    NOTICE OF FILING BUDGET

        PLEASE TAKE NOTICE that Absolut Facilities Management and its affiliated debtor
entities, have herewith filed an updated 13-week proposed budget, including financial projections
on a consolidated and facility level, attached hereto as Exhibit A.

           1
             The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Absolut Facilities Management, LLC (1412); Absolut Center for Nursing and
Rehabilitation at Allegany, LLC (7875); Absolut Center for Nursing and Rehabilitation at Aurora Park, LLC (8266);
Absolut Center for Nursing and Rehabilitation at Gasport, LLC (8080); Absolut at Orchard Brooke, LLC (1641);
Absolut Center for Nursing and Rehabilitation at Orchard Park, LLC (8300); Absolut Center for Nursing and
Rehabilitation at Three Rivers, LLC (8133); and Absolut Center for Nursing and Rehabilitation at Westfield, LLC
(7924).



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      Case 8-19-76260-ast       Doc 135   Filed 10/09/19     Entered 10/09/19 20:15:33




Dated:     October 9, 2019                       LOEB & LOEB LLP
           New York, New York
                                                 /s/ Schuyler G. Carroll
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18238140                                     2
      Case 8-19-76260-ast   Doc 135   Filed 10/09/19   Entered 10/09/19 20:15:33




                                      Exhibit A

                                 (Proposed Budget)




18238140
                                               Case 8-19-76260-ast                              Doc 135                 Filed 10/09/19                         Entered 10/09/19 20:15:33

                                                                                                                                                                                                                                                Subject to On-going Change




Absolut Facilities Management
Cash Projection - Consolidated
                                                       1             2                 3               4                5                   6                7                8                9                10               11               12               13        10/11/19 - 01/03/20
Week Ended:                                         10/11/19      10/18/19          10/25/19        11/01/19         11/08/19            11/15/19         11/22/19         11/29/19         12/06/19         12/13/19         12/20/19         12/27/19         01/03/20           TOTAL

Opening Cash Balance                            $ 1,486,150      $ 1,049,204    $     525,967   $     951,355    $      56,563      $       53,407    $      59,302    $      59,002    $      53,482    $      55,847    $      59,279    $      58,979    $      57,292    $        1,486,150

Anticipated DIP Funding                                   -              -                -           (50,000)         (40,000)            150,000         (510,000)         970,000          (50,000)         180,000         (510,000)         340,000          640,000             1,120,000

Receipts
Medicare                                        $         -    $    54,424      $     509,324   $         -      $         -       $        54,424    $         -      $     454,900    $         -      $      54,424    $         -      $     454,900    $         -               1,582,396
Medicaid                                              429,209      518,819            395,273         183,502          341,288             378,788          378,788          283,688          358,616          378,788          378,788          317,488          358,616             4,701,651
Insurance, Self Pay                                   563,965      764,854          1,058,628       1,036,278          718,860             946,841        1,058,644        1,009,578          739,032          894,680        1,058,644          925,778          689,032            11,464,813
Miscellaneous                                         (96,133)         -                  -               -                -                   -                -                -                -                -                -                -                -                 (96,133)
Total Receipts                                        897,041    1,338,097          1,963,225       1,219,780        1,060,148           1,380,053        1,437,432        1,748,166        1,097,648        1,327,892        1,437,432        1,698,166        1,047,648            17,652,727

Disbursements
Payroll/ Taxes                                        799,380        809,262          691,535         697,759          703,982             710,205          716,429          716,429          716,429          716,429          716,429          716,429          716,429             9,427,129
Insurance                                              95,221            -                -            93,005          108,020                 -                -             93,005          108,020              -                -             93,005           93,005               683,281
Pharmacy                                               28,301         28,301           28,301          28,301           28,301              28,301           28,301           28,301           28,301           28,301           28,301           28,301           28,301               367,913
Utilities                                                 -           72,968              -               -                -                72,968              -                -                -             72,968              -                -                -                 218,904
Food                                                   36,000         31,520           31,520          31,520           31,520              31,520           31,520           31,520           31,520           31,520           31,520           31,520           31,520               414,240
Supplies                                               36,358         36,358           36,358          36,358           36,358              36,358           36,358           36,358           36,358           36,358           36,358           36,358           36,358               472,654
Vendors                                               130,088        111,413          111,413         111,413          111,413             111,413          111,413          111,413          111,413          111,413          111,413          111,413          111,413             1,467,044
Assessment (paid monthly - 15th)                          -          202,904              -               -                -               264,785              -                -                -            238,863              -                -                -                 706,552
Back Office Support - Payroll                             -          123,968              -           123,968              -               123,968              -            123,968              -            123,968              -            123,968              -                 743,810
Back Office Support-Rent/Phone/Con Svc/Other            3,710         19,639            3,710          19,639            3,710              19,639            3,710           19,639            3,710           19,639            3,710           19,639            2,931               143,026
Rent                                                      -          300,000              -           799,974              -                   -                -            799,974              -                -                -            799,974           50,000             2,749,922
Medical Claims Funding                                    -          125,000              -               -                -               125,000              -                -                -            125,000              -                -                -                 375,000
Capital Lease on AP Renovation                            -              -                -            79,245              -                   -                -             79,245              -                -                -             79,245              -                 237,736
 Total Operating Disbursements                      1,129,058      1,861,334          902,837       2,021,183        1,023,304           1,524,158          927,731        2,039,853        1,035,751        1,504,460          927,731        2,039,853        1,069,957            18,007,212

Operating Cash Flow                                  (232,017)      (523,237)       1,060,388        (801,403)          36,844            (144,105)         509,701         (291,687)          61,897         (176,568)         509,701         (341,687)         (22,309)             (354,485)

Utility Deposit - All Buildings                        61,000            -                -               -                -                   -                -                -                -                -                -                -                -                  61,000
First day Relief                                       81,095            -                -               -                -                   -                -                -                -                -                -                -                -                  81,095
Debtor                                                 25,000            -            385,000             -                -                   -                -            400,000              -                -                -                -            335,000             1,145,000
Ombudsman                                                 -              -             50,000             -                -                   -                -             50,000              -                -                -                -             50,000               150,000
Lender                                                    -              -             50,000             -                -                   -                -             50,000              -                -                -                -             50,000               150,000
UCC                                                       -              -            125,000             -                -                   -                -            125,000              -                -                -                -            125,000               375,000
Chapter 11 Fees                                         4,000            -                -               -                -                   -                -                -                -                -                -                -                -                   4,000
Adequate Protection                                    33,833                             -            33,833                                                                 33,833              -                -                -                -             33,833               135,333
DIP Interest & Fees                                       -              -             25,000           9,555              -                   -                -             25,000            9,532              -                -                -             25,000                94,087
                                                                                                                                                                                                                                                                                            -
Total Restructuring Disbursements                     204,928            -            635,000          43,388              -                   -                -            683,833            9,532              -                -                -            618,833             2,195,515

Cash Flow                                            (436,945)      (523,237)         425,388        (844,791)          36,844            (144,105)         509,701         (975,520)          52,365         (176,568)         509,701         (341,687)        (641,143)           (2,550,000)

Beginning Cash Balance                          $ 1,486,150 $ 1,049,204 $             525,967   $  951,355 $            56,563 $            53,407 $         59,302 $         59,002 $         53,482 $         55,847 $         59,279 $         58,979 $         57,292 $           1,486,150
Cash Flow                                          (436,945)   (523,237)              425,388     (844,791)             36,844            (144,105)         509,701         (975,520)          52,365         (176,568)         509,701         (341,687)        (641,143)           (2,550,000)
Borrowing / (Repayment)                                 -           -                     -        (50,000)            (40,000)            150,000         (510,000)         970,000          (50,000)         180,000         (510,000)         340,000          640,000             1,120,000
Ending Cash Balance                             $ 1,049,204 $ 525,967 $               951,355   $   56,563 $            53,407 $            59,302 $         59,002 $         53,482 $         55,847 $         59,279 $         58,979 $         57,292 $         56,150 $              56,150

                                                Max Borrowing                   $ 1,939,000




                                                                                                                                1 of 9
                                               Case 8-19-76260-ast                      Doc 135             Filed 10/09/19                 Entered 10/09/19 20:15:33

                                                                                                                                                                                                     Subject to On-going Change



Cash Projection - Aurora Park
                                            1              2              3               4               5             6             7             8                9           10             11            12              13
                                         10/11/19       10/18/19       10/25/19        11/1/19         11/8/19       11/15/19      11/22/19      11/29/19         12/6/19     12/13/19       12/20/19      12/27/19         1/3/20       TOTAL

Incoming Cash:
Medicare                                $       -       $    28,000    $ 160,000   $       -       $       -        $    28,000    $       -     $ 132,000    $       -       $    28,000    $       -     $ 132,000    $       -       $ 508,000
Medicaid                                    192,290         195,629      151,484       106,902         203,788          241,288        241,288     156,488        241,383         241,288        241,288     190,288        241,383     2,644,787
Insurance, Self Pay                         115,308         487,370      478,916       360,126         211,598          537,215        496,557     373,926        211,503         537,215        496,557     340,126        211,503     4,857,916
Miscellaneous                                   -               -            -             -               -                -              -           -              -               -              -           -              -             -
                                            307,598         710,999      790,400       467,028         415,386          806,503        737,845     662,414        452,886         806,503        737,845     662,414        452,886     8,010,703

 Outgoing Cash:
Payroll/ Taxes                             336,211          330,037      336,260       342,484         348,707          354,930        361,154     361,154        361,154         361,154        361,154     361,154        361,154     4,576,707
Insurances                                  71,512              -            -             -            71,512              -              -           -           71,512             -              -           -           71,512       286,048
pharmacy                                    14,015           14,015       14,015        14,015          14,015           14,015         14,015      14,015         14,015          14,015         14,015      14,015         14,015       182,195
utilities                                      -             27,368          -             -               -             27,368            -           -              -            27,368            -           -              -          82,104
food                                        14,085           14,085       14,085        14,085          14,085           14,085         14,085      14,085         14,085          14,085         14,085      14,085         14,085       183,105
supplies                                    15,561           15,561       15,561        15,561          15,561           15,561         15,561      15,561         15,561          15,561         15,561      15,561         15,561       202,293
Vendors                                     48,976           48,976       48,976        48,976          48,976           48,976         48,976      48,976         48,976          48,976         48,976      48,976         48,976       636,688
Assessment (paid monthly - 15th)               -             70,667          -             -               -            113,863            -           -              -           113,863            -           -              -         298,393
Back Office Support - Payroll                  -             40,130          -          40,130             -             40,130            -        40,130            -            40,130            -        40,130            -         240,781
Back Office Support-Rent/Phone/Con Svc/Other 1,234            6,533        1,234         6,533           1,234            6,533          1,234       6,533          1,234           6,533          1,234       6,533          1,234        47,836
Rent                                           -                -            -         382,744             -                -              -       382,744            -               -              -       382,744            -       1,148,232
Capital Lease on AP Renovation                 -                -            -          79,245             -                -              -        79,245            -               -              -        79,245            -         237,736
                                           501,594          567,372      430,131       943,773         514,090          635,461        455,025     962,443        526,537         641,685        455,025     962,443        526,537     8,122,118

Weekly Excess/(Shortfall) Cash              (193,996)       143,627      360,269       (476,746)        (98,704)        171,042        282,820    (300,030)        (73,651)       164,818        282,820    (300,030)        (73,651)    (111,414)

Cumulative Excess/(Shortfall) Cash          (193,996)       (50,369)     309,899       (166,846)       (265,551)        (94,509)       188,311    (111,719)       (185,371)       (20,553)       262,267     (37,763)       (111,414)




                                                                                                                   2 of 9
                                                Case 8-19-76260-ast                       Doc 135             Filed 10/09/19                   Entered 10/09/19 20:15:33

                                                                                                                                                                                                               Subject to On-going Change



Cash Projection - Orchard Park
                                             1              2           3               4               5                 6              7               8               9               10              11              12              13
Week of:                                  10/11/19       10/18/19    10/25/19        11/01/19        11/08/19          11/15/19       11/22/19        11/29/19        12/06/19        12/13/19        12/20/19        12/27/19        01/03/20            TOTAL

Incoming Cash:
Medicare                                 $        -    $     -       $       -       $       -       $       -        $       -       $       -       $       -       $       -       $       -       $       -       $       -       $       -       $       -
Medicaid                                       75,533     43,548          90,238          25,000          16,000           16,000          16,000          16,000          16,000          16,000          16,000          16,000          16,000         378,319
Insurance, Self Pay                            31,281     76,000          57,000             -               -                -               -               -               -               -               -               -               -           164,281
Miscellaneous                                 (96,133)       -               -               -               -                -               -               -               -               -               -               -               -           (96,133)
                                               10,681    119,548         147,238          25,000          16,000           16,000          16,000          16,000          16,000          16,000          16,000          16,000          16,000         446,467

 Outgoing Cash:
Payroll/ Taxes                             107,894        123,950            -               -               -                -               -               -               -               -               -               -               -           231,844
Insurances                                   44,244           -              -               -            44,244              -               -               -            44,244             -               -               -            44,244         176,976
pharmacy                                        -             -              -               -               -                -               -               -               -               -               -               -               -               -
utilities                                       -          17,500            -               -               -             17,500             -               -               -            17,500             -               -               -            52,500
food                                            -             -              -               -               -                -               -               -               -               -               -               -               -               -
supplies                                        -             -              -               -               -                -               -               -               -               -               -               -               -               -
Vendors                                      18,675           -              -               -               -                -               -               -               -               -               -               -               -            18,675
Assessment (paid monthly - 15th)                -          48,904            -               -               -             25,922             -               -               -               -               -               -               -            74,826
Back Office Support - Payroll                   -          25,332            -            25,332             -             25,332             -            25,332             -            25,332             -            25,332             -           151,993
Back Office Support-Rent/Phone/Con Svc/Other    779         4,124            779           4,124             779            4,124             779           4,124             779           4,124             779           4,124               (0)        29,417
Rent                                                                                         -                                                                -               -               -                               -               -               -
                                           171,592        219,810            779          29,456          45,023           72,878             779          29,456          45,023          46,956             779          29,456          44,244         736,231

Weekly Excess/(Shortfall) Cash               (160,911)   (100,262)       146,459           (4,456)        (29,023)         (56,878)        15,221          (13,456)        (29,023)        (30,956)        15,221          (13,456)        (28,244)       (289,763)

Cumulative Excess/(Shortfall) Cash           (160,911)   (261,173)       (114,714)       (119,170)       (148,192)        (205,070)       (189,849)       (203,305)       (232,328)       (263,284)       (248,063)       (261,519)       (289,763)




                                                                                                                     3 of 9
                                               Case 8-19-76260-ast                     Doc 135           Filed 10/09/19               Entered 10/09/19 20:15:33

                                                                                                                                                                                             Subject to On-going Change



Cash Projection - Three Rivers
                                              1            2              3           4              5             6              7             8           9             10             11            12          13
                                           10/11/19     10/18/19       10/25/19    11/01/19       11/08/19      11/15/19       11/22/19      11/29/19    12/06/19      12/13/19       12/20/19      12/27/19    01/03/20       TOTAL

Incoming Cash:
Medicare                                  $       -     $    12,100    $ 168,000   $       -      $       -     $    12,100    $       -     $ 155,900   $       -     $    12,100    $       -     $ 155,900   $       -     $ 516,100
Medicaid                                       52,270       102,897       51,293        15,000         42,000        42,000         42,000      27,000        33,139        42,000         42,000      27,000        33,139      551,738
Insurance, Self Pay                           203,099        39,598        4,621       240,599        213,369       100,495        106,914     147,699       222,230       100,495        106,914     147,699       222,230    1,855,963
Miscellaneous                                     -             -            -             -              -             -              -           -             -             -              -           -             -            -
                                              255,369       154,595      223,914       255,599        255,369       154,595        148,914     330,599       255,369       154,595        148,914     330,599       255,369    2,923,801

 Outgoing Cash:
Payroll/ Taxes                               111,381        111,381      111,381       111,381        111,381       111,381        111,381     111,381       111,381       111,381        111,381     111,381       111,381    1,447,953
Insurances                                    25,838                                                   25,838                                                 25,838                                                 25,838      103,352
pharmacy                                       4,762          4,762        4,762         4,762          4,762          4,762         4,762       4,762         4,762         4,762          4,762       4,762         4,762       61,906
utilities                                                     8,108                                                    8,108                                                 8,108                                                24,324
food                                           4,854          4,854        4,854         4,854          4,854          4,854         4,854       4,854         4,854         4,854          4,854       4,854         4,854       63,102
supplies                                       7,004          7,004        7,004         7,004          7,004          7,004         7,004       7,004         7,004         7,004          7,004       7,004         7,004       91,052
Vendors                                       14,644         14,644       14,644        14,644         14,644         14,644        14,644      14,644        14,644        14,644         14,644      14,644        14,644      190,372
Assessment (paid monthly - 15th)                 -           28,667                                                   43,000                                                43,000                                               114,667
Back Office Support - Payroll                    -           15,049         -           15,049           -            15,049          -         15,049          -           15,049           -         15,049          -          90,292
Back Office Support-Rent/Phone/Con Svc/Other     463          2,450         463          2,450           463           2,450          463        2,450          463          2,450           463        2,450          463        17,939
Rent                                                                                   161,513                                                 161,513                                                161,513                    484,539
                                             168,946        196,918      143,108       321,657        168,946       211,252        143,108     321,657       168,946       211,252        143,108     321,657       168,946    2,689,498

Weekly Excess/(Shortfall) Cash                 86,423       (42,323)      80,806       (66,057)        86,423       (56,656)         5,806       8,943        86,423       (56,656)         5,806       8,943        86,423     234,303

Cumulative Excess/(Shortfall) Cash             86,423        44,101      124,906        58,849        145,272         88,616        94,422     103,364       189,788       133,132        138,937     147,880       234,303




                                                                                                             4 of 9
                                              Case 8-19-76260-ast                       Doc 135            Filed 10/09/19                  Entered 10/09/19 20:15:33

                                                                                                                                                                                                      Subject to On-going Change



Cash Projection - Westfield
                                             1             2               3           4              5                6              7             8             9              10              11            12            13
                                          10/11/19      10/18/19        10/25/19    11/01/19       11/08/19         11/15/19       11/22/19      11/29/19      12/06/19       12/13/19        12/20/19      12/27/19      01/03/20           TOTAL

Incoming Cash:
Medicare                                 $      -       $    10,100     $ 103,600   $       -      $       -       $    10,100     $       -     $    93,500   $       -      $    10,100     $       -     $    93,500   $       -      $     320,900
Medicaid                                     34,103          32,893        52,425        20,000         43,000          43,000          43,000        45,000        39,769         43,000          43,000        45,000        39,769          523,959
Insurance, Self Pay                          45,767          44,261       336,862       187,467         36,870          34,154         256,387       262,467        40,101         34,154         256,387       262,467        40,101        1,837,450
Miscellaneous                                   -               -             -             -              -               -               -             -             -              -               -             -             -                -
                                             79,870          87,254       492,887       207,467         79,870          87,254         299,387       400,967        79,870         87,254         299,387       400,967        79,870        2,682,309

 Outgoing Cash:
Payroll/ Taxes                               99,809          99,809        99,809        99,809         99,809          99,809          99,809        99,809        99,809         99,809          99,809        99,809        99,809        1,297,517
Insurances                                   23,350                                                     23,350                                                      23,350                                                     23,350           93,400
pharmacy                                      4,762           4,762         4,762         4,762          4,762           4,762           4,762         4,762         4,762          4,762           4,762         4,762         4,762           61,906
utilities                                                     5,956                                                      5,956                                                      5,956                                                       17,868
food                                          4,777           4,777         4,777         4,777          4,777           4,777           4,777         4,777         4,777          4,777           4,777         4,777         4,777           62,101
supplies                                      5,431           5,431         5,431         5,431          5,431           5,431           5,431         5,431         5,431          5,431           5,431         5,431         5,431           70,603
Vendors                                      16,208          16,208        16,208        16,208         16,208          16,208          16,208        16,208        16,208         16,208          16,208        16,208        16,208          210,704
Assessment (paid monthly - 15th)                -            26,667                                                     40,000                                                     40,000                                                      106,667
Back Office Support - Payroll                   -            15,049          -           15,049           -             15,049            -           15,049          -            15,049            -           15,049          -              90,292
Back Office Support-Rent/Phone/Con Svc/Other    463           2,450          463          2,450           463            2,450            463          2,450          463           2,450            463          2,450          463            17,939
Rent                                                                                     88,483                                                       88,483                                                     88,483                        265,449
                                           154,800          181,108       131,450       236,969        154,800         194,442         131,450       236,969       154,800        194,442         131,450       236,969       154,800        2,294,446

Weekly Excess/(Shortfall) Cash               (74,930)        (93,854)     361,438       (29,501)       (74,930)        (107,187)       167,938       163,999       (74,930)       (107,187)       167,938       163,999       (74,930)        387,863

Cumulative Excess/(Shortfall) Cash           (74,930)       (168,783)     192,654       163,153         88,224          (18,963)       148,974       312,973       238,044        130,856         298,794       462,793       387,863




                                                                                                                  5 of 9
                                             Case 8-19-76260-ast                    Doc 135         Filed 10/09/19                 Entered 10/09/19 20:15:33

                                                                                                                                                                                        Subject to On-going Change



Cash Projection - Allegany
                                              1            2              3             4           5              6               7           8              9          10             11          12             13
                                          10/11/19     10/18/19       10/25/19      11/01/19    11/08/19       11/15/19        11/22/19    11/29/19       12/06/19    12/13/19       12/20/19    12/27/19       01/03/20    TOTAL

Incoming Cash:
 Medicare                                              $      700     $    49,200                             $        700                 $    48,500                $      700                 $    48,500                #######
 Medicaid                                    8,047         58,188          10,990      1,600       8,500             8,500        8,500          7,200       6,422         8,500        8,500          7,200       6,422    148,569
 Insurance, Self Pay                        10,487         20,563          56,653     55,857      10,034            70,251       59,843         50,257      12,112        70,251       59,843         50,257      12,112    538,523
 Miscellaneous                                   0              0               0          0           0                 0            0              0           0             0            0              0           0          0
                                            18,534         79,451         116,843     57,457      18,534            79,451       68,343        105,957      18,534        79,451       68,343        105,957      18,534    835,392

Outgoing Cash:
Payroll/ Taxes                               37,830        37,830          37,830     37,830      37,830            37,830       37,830         37,830      37,830        37,830       37,830         37,830      37,830    491,790
Insurances                                    7,964                                                7,964                                                     7,964                                                 7,964     31,856
pharmacy                                      1,468         1,468           1,468      1,468       1,468             1,468        1,468          1,468       1,468         1,468        1,468          1,468       1,468     19,084
utilities                                                   2,892                                                    2,892                                                 2,892                                              8,676
food                                          1,613         1,613           1,613      1,613       1,613             1,613        1,613          1,613       1,613         1,613        1,613          1,613       1,613     20,969
supplies                                      1,853         1,853           1,853      1,853       1,853             1,853        1,853          1,853       1,853         1,853        1,853          1,853       1,853     24,089
Vendors                                       5,920         5,920           5,920      5,920       5,920             5,920        5,920          5,920       5,920         5,920        5,920          5,920       5,920     76,960
Assessment (paid monthly - 15th)                            9,333                                                   14,000                                                14,000                                             37,333
Back Office Support - Payroll                     0         4,640              0       4,640           0             4,640            0          4,640           0         4,640            0          4,640           0     27,841
Back Office Support-Rent/Phone/Con Svc/Other    143           755            143         755         143               755          143            755         143           755          143            755         143      5,531
Rent                                                                                  47,196                                                    47,196                                                47,196                141,588
                                             56,791        66,305          48,827    101,276      56,791            70,972       48,827        101,276      56,791        70,972       48,827        101,276      56,791    885,717

Weekly Excess/(Shortfall) Cash              (38,256)       13,147          68,016    (43,819)    (38,256)            8,480       19,516          4,681     (38,256)        8,480       19,516          4,681     (38,256)   (50,325)

Cumulative Excess/(Shortfall) Cash          (38,256)       (25,110)        42,907       (912)    (39,168)           (30,688)    (11,172)        (6,490)    (44,747)       (36,267)    (16,750)       (12,069)    (50,325)




                                                                                                           6 of 9
                                              Case 8-19-76260-ast                  Doc 135         Filed 10/09/19                Entered 10/09/19 20:15:33

                                                                                                                                                                                   Subject to On-going Change



Cash Projection - Gasport
                                               1           2             3             4           5              6              7          8              9         10            11         12             13
                                           10/11/19    10/18/19      10/25/19      11/01/19    11/08/19       11/15/19       11/22/19   11/29/19       12/06/19   12/13/19      12/20/19   12/27/19       01/03/20    TOTAL

Incoming Cash:
Medicare                                               $     3,524   $    28,524                             $       3,524              $    25,000               $     3,524              $    25,000               $ 89,096
Medicaid                                     66,966         85,664        38,843     15,000      28,000             28,000     28,000        32,000      21,903        28,000     28,000        32,000      21,903     454,279
Insurance, Self Pay                          70,466         82,864        95,427    121,757     109,432            140,528    109,794       104,757     115,529       140,528    109,794       104,757     115,529   1,421,160
Miscellaneous                                     0              0             0          0           0                  0          0             0           0             0          0             0           0         -
                                            137,432        172,052       162,794    136,757     137,432            172,052    137,794       161,757     137,432       172,052    137,794       161,757     137,432   1,964,535

 Outgoing Cash:
Payroll/ Taxes                                82,132        82,132        82,132     82,132      82,132             82,132     82,132        82,132      82,132        82,132     82,132        82,132      82,132   1,067,716
Insurances                                    17,489                                             17,489                                                  17,489                                             17,489      69,956
pharmacy                                       3,294         3,294         3,294      3,294       3,294              3,294      3,294         3,294       3,294         3,294      3,294         3,294       3,294      42,822
utilities                                                    5,616                                                   5,616                                              5,616                                           16,848
food                                           3,172         3,172         3,172      3,172       3,172              3,172      3,172         3,172       3,172         3,172      3,172         3,172       3,172      41,236
supplies                                       3,528         3,528         3,528      3,528       3,528              3,528      3,528         3,528       3,528         3,528      3,528         3,528       3,528      45,864
Vendors                                       15,227        15,227        15,227     15,227      15,227             15,227     15,227        15,227      15,227        15,227     15,227        15,227      15,227     197,951
Assessment (paid monthly - 15th)                   0        18,667                                                  28,000                                             28,000                                           74,667
Back Office Support - Payroll                      0        12,103            0      12,103           0             12,103          0        12,103           0        12,103          0        12,103           0      72,618
Back Office Support-Rent/Phone/Con Svc/Other     320         1,694          320       1,694         320              1,694        320         1,694         320         1,694        320         1,694         320      12,407
Rent                                                                                 46,208                                                  46,208                                             46,208                 138,624
                                             125,162       145,433       107,673    167,358     125,162            154,766    107,673       167,358     125,162       154,766    107,673       167,358     125,162   1,780,708

Weekly Excess/(Shortfall) Cash               12,270         26,619        55,121    (30,602)     12,270             17,286     30,121        (5,602)     12,270        17,286     30,121        (5,602)     12,270    183,827

Cumulative Excess/(Shortfall) Cash           12,270         38,889        94,010     63,408      75,678             92,963    123,084       117,483     129,752       147,038    177,159       171,557     183,827




                                                                                                          7 of 9
                                             Case 8-19-76260-ast                       Doc 135         Filed 10/09/19                  Entered 10/09/19 20:15:33

                                                                                                                                                                                                  Subject to On-going Change



Cash Projection - Orchard Brooke
                                              1           2              3             4              5              6               7              8              9             10             11             12              13
                                          10/11/19    10/18/19       10/25/19      11/01/19       11/08/19       11/15/19        11/22/19       11/29/19       12/06/19       12/13/19       12/20/19       12/27/19        01/03/20       TOTAL

Incoming Cash:
Medicare                                 $      -     $      -       $      -      $      -       $      -      $        -       $      -       $      -       $      -       $      -       $      -       $       -       $      -       $   -
Medicaid                                        -            -              -             -              -               -              -              -              -              -              -               -              -           -
Insurance, Self Pay                          87,557       14,197         29,149        20,472         87,557          14,197         29,149         20,472         87,557         12,036         29,149          20,472         87,557     539,519
Miscellaneous                                   -            -              -             -              -               -              -              -              -              -              -               -              -           -
                                             87,557       14,197         29,149        20,472         87,557          14,197         29,149         20,472         87,557         12,036         29,149          20,472         87,557     539,519

 Outgoing Cash:
Payroll/ Taxes                               24,123       24,123         24,123        24,123         24,123          24,123         24,123         24,123         24,123         24,123         24,123          24,123         24,123     313,602
Insurances                                   10,628                                                   10,628                                                       10,628                                                       10,628      42,512
pharmacy                                        -            -              -              -             -               -               -              -             -              -               -               -             -           -
utilities                                                  5,528                                                       5,528                                                       5,528                                                    16,584
food                                          3,019        3,019          3,019         3,019          3,019           3,019          3,019          3,019          3,019          3,019          3,019            3,019         3,019      39,247
supplies                                        791          791            791           791            791             791            791            791            791            791            791              791           791      10,283
Vendors                                       2,638        2,638          2,638         2,638          2,638           2,638          2,638          2,638          2,638          2,638          2,638            2,638         2,638      34,294
Assessment (paid monthly - 15th)                -            -                                                           -                                                                                                                     -
Back Office Support - Payroll                   -         11,666           -           11,666           -             11,666            -           11,666            -           11,666            -            11,666            -        69,993
Back Office Support-Rent/Phone/Con Svc/Other    309        1,633           309          1,633           309            1,633            309          1,633            309          1,633            309           1,633            309      11,959
Rent                                                                                   23,830                                                       23,830                                                       23,830                     71,490
                                             41,508       49,398         30,880        67,700         41,508          49,398         30,880         67,700         41,508         49,398         30,880          67,700         41,508     609,964

Weekly Excess/(Shortfall) Cash               46,049       (35,201)       (1,731)       (47,227)       46,049          (35,201)        (1,731)       (47,227)       46,049         (37,362)        (1,731)        (47,227)       46,049     (70,445)

Cumulative Excess/(Shortfall) Cash           46,049       10,848          9,117        (38,111)        7,938          (27,263)       (28,994)       (76,222)       (30,173)       (67,535)       (69,266)       (116,494)       (70,445)




                                                                                                             8 of 9
                                       Case 8-19-76260-ast                 Doc 135          Filed 10/09/19            Entered 10/09/19 20:15:33

                                                                                                                                                                   Subject to On-going Change



Cash Projection - Restructuring Fees

                                             1           2          3            4          5              6          7          8           9         10         11          12         13
Week of:                                 10/11/19    10/18/19   10/25/19     11/01/19   11/08/19       11/15/19   11/22/19   11/29/19    12/06/19   12/13/19   12/20/19    12/27/19   01/03/20     TOTAL


Debtor
Loeb                                    $      -     $    -     $ 250,000   $     -     $      -       $    -     $     -    $ 300,000   $    -     $    -     $     -    $     -     $ 250,000   $ 800,000
Robert Fedor, Special Counsel                  -          -        25,000         -            -            -           -                     -          -           -          -                     25,000
WKL                                            -          -        15,000         -            -            -           -       15,000        -          -           -          -        15,000       45,000
WALLC                                          -          -        60,000         -            -            -           -       75,000        -          -           -          -        60,000      195,000
PC                                          25,000        -        35,000         -            -            -           -       10,000        -          -           -          -        10,000       80,000
                                            25,000        -       385,000         -            -            -           -      400,000        -          -           -          -       335,000    1,145,000

Ombudsman
FA                                             -          -        50,000         -            -            -           -       50,000        -          -           -          -        50,000     150,000
                                               -          -        50,000         -            -            -           -       50,000        -          -           -          -        50,000     150,000
Lender
 Legal                                         -          -        50,000         -            -            -           -       50,000        -          -           -          -        50,000     150,000
 FA                                            -          -           -           -            -            -           -          -          -          -           -          -           -           -
                                               -          -        50,000         -            -            -           -       50,000        -          -           -          -        50,000     150,000

UCC
Legal                                          -          -        75,000         -            -            -           -       75,000        -          -           -          -        75,000     225,000
FA                                             -          -        50,000         -            -            -           -       50,000        -          -           -          -        50,000     150,000
                                               -          -       125,000         -            -            -           -      125,000        -          -           -          -       125,000     375,000

Court Fees
Filing Fees                                    -          -           -           -            -            -           -          -          -          -           -          -           -
UST Fees                                     4,000        -           -           -            -            -           -                     -          -           -          -           -         4,000
                                             4,000        -           -           -            -            -           -          -          -          -           -          -           -         4,000

DIP Lender
Legal                                          -          -        25,000         -            -            -           -       25,000        -          -           -          -        25,000      75,000
                                               -          -        25,000         -            -            -           -       25,000        -          -           -          -        25,000      75,000

TOTAL                                       29,000        -       635,000         -            -            -           -      650,000        -          -           -          -       585,000   1,899,000




                                                                                              9 of 9
